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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                         ALEXANDRIA DIVISION

IN RE:                                                        )
                                                              )
NANAK131313 INC.,                                             )      Case No. 18-11158-BFK
                                                              )      Chapter 11
                    Debtor-In-Possession.                     )
                                                              )

         FIRST AND FINAL APPLICATION FOR COMPENSATION OF COUNSEL

                    COMES NOW, Jonathan B. Vivona, Esquire (“Vivona” or “Applicant”), Applicant

herein, pursuant to 11 U.S.C. §§330 and 331, Fed R. Bankr. P. 2016(a) and Local Rule 2016-1(A)

and respectfully represents the following to the Court.

                               EMPLOYMENT AS COUNSEL FOR DEBTOR

                    1.         Applicant was retained by Nanak131313 inc. (“Debtor”) on or about April

1, 2018 as counsel in their Chapter 11 case. The Court entered an Order authorizing the

employment of Applicant on May 24, 2018 (Doc. No. 27).

                                                   RETAINER

                    2.         Applicant is holding the sum of $5,000.00 as a retainer in this case.

                                                 CASE STATUS

                    3.         On April 2, 2018, Debtor filed the instant case under Chapter 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the Eastern District of Virginia,

Alexandria Division, Case No. 18-11158-BFK.

                    4.          Debtor continued to operate its business and manage its financial affairs as

debtor in possession.

                    5.         On May 22, 2018, a hearing was held on Debtor’s Application to Employ
Jonathan B. Vivona, Esquire
Virginia State Bar No. 82762
601 King Street, Suite 400
Alexandria, Virginia 22314
(Tel) 703-739-1353
(Fax) 703-337-0490
Counsel for Nanak131313 inc.
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Sales Agent for the purpose of selling Debtor’s business and the Court granted said application.

               6.     On May 23, 2018, a hearing was held on the Landlord, JSNS, LLC’s motion

for relief from stay which was granted.

           SUMMARY OF SERVICES RENDERED AND HOURS EXPENDED

               7.     Vivona is experienced in bankruptcy matters. Pursuant to the retainer

agreement, the Applicant was to be compensated at the rate of $300.00 per hour for his services.

               8.     Vivona respectfully submits that the rate of $300.00 per hour is a fair and

generally accepted rate of compensation for services of the type rendered herein by Applicant.

               9.     Vivona has divided his time records among four (4) service categories. The

following is a summary of the service categories and the amount of time spent in connection with

each such category.

               Category 1: Case Administration: 18.95 hours ($5,685.00), filing fee ($1,717.00)

               Category 2: Schedules: 8 hours ($2,400.00)

               Category 3: Stay: 2.4 hours ($720.00)

               Category 4: Claims: 4.6 hours ($1,380.00)

               10.    The dates, descriptions and hours of service are more fully set forth in the

Statement of Services attached as Exhibit “A”.

               11.    Vivona has no agreement to share any compensation which may be awarded

by this Court. All services provided herein were performed by Vivona for and on behalf of the

Debtor and not for or on behalf of any other person or entity.




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               WHEREFORE, the Applicant prays that the Court enter an Order (i) authorizing

and awarding counsel fees to Jonathan B. Vivona for services rendered and filing fees paid for the

period March 30, 2018 through May 24, 2018 in the amount of $11,902.00, or in such other amount

as to this Court may appear just, and authorize Vivona to withdraw the $5,000.00 retainer balance

in his trust account and apply it to the award.



JONATHAN B. VIVONA, PLC



__/s/ Jonathan B. Vivona                          __
JONATHAN B. VIVONA, ESQUIRE
Virginia State Bar No. 82762
601 King Street, Suite 400
Alexandria, Virginia 22314
Telephone Number: (703) 739-1353
Fax Number: (703) 337-0490
vivonalaw@gmail.com
Counsel for Nanak131313 inc.




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                                     CERTIFICATE OF SERVICE

                 I hereby certify that on the 25th day of May, 2018 a true copy of the foregoing
   Application for Compensation was served electronically pursuant to this Court’s CM/ECF
   procedures on: Jack I. Frankel, Esquire, Office of the U.S. Trustee, 115 South Union Street, Ste.
   210, Alexandria, VA 22314 and Jeffrey S. Romanick, Esquire, 3975 University Dr. #410, Fairfax,
   VA 22030-2520; and sent first class mail, postage prepaid, to:


ADT Security Services                    American Disposal                          American Disposal
PO Box 371878                            10370 Central Park Drive                   PO Box 28150
Pittsburgh, PA 15250                     Manassas, VA 20110                         Miami, FL 33102




Cox Business                             Dominion Energy Virginia                   Fairfax County DTA
Dept 781114                              PO Box 26543                               12000 Government Center Pkwy
PO Box 78000                             Richmond, VA 23290                         Fairfax, VA 22035
Detroit, MI 48278



Fairfax Water                            Fairfax Water                              Girish Sood
8570 Executive Park Avenue               PO Box 71076                               13895 Hedgewood Drive 349
Fairfax, VA 22031                        Charlotte, NC 28272                        Woodbridge, VA 22193




                                         Internal Revenue Service
Gross & Romanick, PC                                                                JSNS, LLC
                                         Centralized Insolvency
3975 University Drive                                                               5809 Plainview Road
                                         PO Box 7346
Suite 410                                                                           Bethesda, MD 20817
                                         Philadelphia, PA 19101
Fairfax, VA 22030



National Fire & Indemnity Exc            Republic Services                          Sartaj Singh Randhawa
6030 Barcroft Avenue                     PO Box 9001099                             3848 Appaloosa Drive
Saint Louis, MO 63109                    Louisville, KY 40290                       Lakeridge, VA 22192




Washington Gas
PO Box 37747
Philadelphia, PA 19101




                                                                    ____/s/ Jonathan B. Vivona____________
                                                                    JONATHAN B. VIVONA




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